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                        UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA


 SARA SAFARI and PEYMON                     Case No. 8:22-cv-01562-JWH-KES
   KHAGHANI, on behalf of themselves
   and all others similarly situated, and
 FARM FORWARD, on behalf of the             ORDER REGARDING
   general public,                          DEFENDANTS’ MOTION TO
                                            DISMISS [ECF No. 46]
              Plaintiffs,
       v.
 WHOLE FOODS MARKET SERVICES,
   INC., a Delaware corporation,
 WHOLE FOODS MARKET
   CALIFORNIA, INC., a California
   corporation,
 MRS. GOOCH’S NATURAL FOOD
   MARKETS, INC., doing business as
   Whole Foods Market, a California
   Corporation,
              Defendants.
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         Before the Court is the motion of Defendants Whole Foods Market Services, Inc.;
 Whole Foods Market California, Inc.; and Mrs. Gooch’s Natural Food Markets, Inc.
 (collectively, “Whole Foods”) to dismiss the First Amended Complaint of Plaintiffs Sara
 Safari, Peymon Khaghani, and Farm Forward. 1 The Court conducted a hearing on the
 Motion in April 2023. After considering the papers filed in support and in opposition, 2 as
 well as the arguments of counsel at the hearing, the Court orders that the Motion is
 GRANTED in part and DENIED in part, for the reasons set forth herein.


                                     I. BACKGROUND

 A.     Facts

        Plaintiffs assert a putative consumer fraud class action, alleging that Whole Foods
 made material misrepresentations and omissions regarding the absence of antibiotics in
 the beef that it sells. 3 Plaintiffs claim that although Whole Foods advertises its beef with
 the slogan “No Antibiotics, Ever,” independent laboratory testing has detected traces of
 antibiotics and pharmaceutical residue in the beef products that Whole Foods sells. 4

        1.      Individual Plaintiffs—Safari and Khaghani

         Safari is a resident of Tustin, California. She claims that she purchased beef from
 Whole Foods’ stores in that city. 5 Khaghani is also a resident of Tustin, and he asserts
 that he purchased beef from Whole Foods’ stores in both Tustin and San Francisco. 6
 Both Safari and Khaghani allege that they relied upon Whole Foods’ advertising that its
 beef was antibiotic-free and that they would not have purchased Whole Foods’ beef—or
 at least they would not have paid a premium for that beef—had they known that Whole
 Foods’ beef products were derived from cattle raised with antibiotics. 7


 1       Defs.’ Mot. to Dismiss Pls.’ First Am. Compl. (the “Motion”) [ECF No. 46].
 2       The Court considered the documents of record in this action, including following papers:
 (1) First Am. Compl. (the “Amended Complaint”) (including its attachments) [ECF No. 35];
 (2) Motion (including its attachments); (3) Pl.’s Opp’n to the Motion (the “Opposition”) [ECF
 No. 48]; (4) Defs.’ Reply in Supp. of the Motion (the “Reply”) [ECF No. 50]; (5) Defs.’ Suppl.
 Brief in Supp. of Motion (“Defendants’ Supplemental Brief”) [ECF No. 55]; and (6) Pls.’ Suppl.
 Brief in Supp. of Opposition (“Plaintiffs’ Supplemental Brief”) [ECF No. 57].
 3       Amended Complaint ¶ 1.
 4       Id. at ¶¶ 1 & 58.
 5       Id. at ¶¶ 9 & 11.
 6       Id. at ¶¶ 16 & 18.
 7       Id. at ¶¶ 13, 15, 19, & 22.


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        2.     Organizational Plaintiff—Farm Forward

        Farm Forward alleges that it is an IRS § 501(c)(3) tax-exempt national public
 interest animal protection organization with its principal place of business in Portland,
 Oregon. 8 Farm Forward claims that its mission is to end factory farming and that it has
 60,000 supporters worldwide. 9

        3.     Whole Foods’ Antibiotic-Free Marketing Campaign

        Plaintiffs contend that Whole Foods has advertised its beef under slogans such as
 “No antibiotics or added growth hormones, ever” since 2002. 10 As a part of that
 marketing campaign, Whole Foods also labeled its beef as “Animal Welfare Certified,”
 which is a label developed by non-party Global Animal Partnership (“GAP”). 11 GAP is a
 standards-setting group for farmed animals, and a GAP certification on a food product
 means that the animals from which the product was derived were “raised without the use
 of antibiotics[.]” GAP was formed by Whole Foods’ CEO in 2007, and Farm Forward
 was a member of GAP’s Board of Directors from GAP’s inception until 2020. 12 Plaintiffs
 claim that Whole Foods was integral to the creation of GAP and to its standards and that
 Whole Foods continues to exert influence over GAP. 13

        4.     Whole Foods’ Beef and Antibiotics Testing

        Plaintiffs assert that Whole Foods’ beef products are not reliably antibiotics-free,
 because independent testing has shown traces of antibiotics and other pharmaceuticals in
 beef sold by Whole Foods. 14 Specifically, in 2021 and 2022, Farm Forward tested
 samples of meat purchased at six different Whole Foods locations in San Francisco,
 Virginia, Chicago, and Salt Lake City that revealed the presence of pharmaceutical
 residue. 15 Farm Forward tested the meat products using two different independent
 laboratories, and one of those laboratories allegedly detected antibiotics in a beef product




 8     Id. at ¶ 23.
 9     Id.
 10    Id. at ¶ 36.
 11    Id. at ¶ 50.
 12    Id. at ¶ 51.
 13    Id. at ¶ 52.
 14    Id. at ¶ 58.
 15    Id. at ¶ 59 (Plaintiffs do not reveal the city in Virginia from which Farm Forward obtained
 samples of Whole Foods’ beef products).


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 marketed as “GAP Step 4” and “USDA Certified Organic” at a Whole Foods’ store in
 San Francisco. 16

        Another laboratory found antiparasitic pharmaceuticals in five beef products
 purchased from Whole Foods’ stores in Salt Lake City and Chicago, all of which were
 marketed as GAP-certified. 17 Plaintiffs claim that those lab results were consistent with
 other tests performed on purported “antibiotic-free” cattle by other organizations. 18
 Farm Forward asserts that it notified Whole Foods of its lab results in April 2022 and that
 Whole Foods knew of deficiencies in GAP’s testing procedures for antibiotics in beef
 dating back to 2017. 19

        5.     Alleged Harms Caused by Whole Foods’ Advertising

        Plaintiffs contend that Whole Foods charged a premium price for its falsely labeled
 beef. For example, Whole Foods’ filet mignon product sold for as much as $31.99 per
 pound, whereas other grocers sold similar products not labeled as “antibiotic-free” for
 only $24.99 per pound. 20 Plaintiffs desired “antibiotic-free” beef, so they purchased
 Whole Foods’ products at a premium price that they would not have paid had they known
 that Whole Foods’ beef contained antibiotics.

         Additionally, Farm Forward asserts that, misled by Whole Foods’ false
 advertising, Farm Forward expended resources to encourage consumers to purchase
 Whole Foods’ beef. 21 Farm Forward was also forced to spend money to investigate
 Whole Foods’ antibiotic-free claims and to inform the public about the truth behind those
 false claims. 22 Farm Forward maintains that those efforts “drained resources” from its
 other activities opposing factory farming and that Whole Foods’ false advertising
 campaign harmed Farm Forward’s mission to end factory farming. 23 Farm Forward
 claims that it was duped into serving on GAP’s board and that it mistakenly promoted
 Whole Foods’ meats as “better choices” through a web-based consumer guide. 24



 16     Id. at ¶ 60.
 17     Id. at ¶ 61.
 18     Id. at ¶ 62.
 19     Id. at ¶¶ 66 & 70.
 20     Id. at ¶ 76.
 21     Id. at ¶ 80.
 22     Id.
 23     Id.
 24     Id. at ¶ 83.


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         Farm Forward also avers that it suffered financial losses as a result of Whole
 Foods’ improper actions and that it devoted significant staff time and organizational
 resources to address Whole Foods’ false advertising. 25 Those expenditures included at
 least $80,000 in purchasing Whole Foods’ products, shipping those products to testing
 laboratories, and paying laboratory-testing fees. 26 Farm Forward alleges that in addition
 to the resources that it expended on its information campaign, it also had to reallocate
 resources from other initiatives to address its Whole Foods investigation. 27 As part of its
 public awareness campaign, Farm Forward spent $12,000 on a consumer survey
 concerning Whole Foods and its meat advertising claims. 28 If Farm Forward had not
 undertaken the corrective initiatives described above, it claims that it would have suffered
 reputational injuries with its supporters. 29

 B.      Procedural History

         Plaintiffs commenced this action in August 2022, and they filed their operative
 Amended Complaint in November 2022. Plaintiffs assert the following seven claims for
 relief:

      • Violation of the Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code
        §§ 1750 et seq. (by Individual Plaintiffs on behalf of the Class);
      • Violation of the Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
        §§ 17200 et seq. (by all Plaintiffs);
      • Violation of the False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500
        et seq. (by all Plaintiffs);
      • Breach of Express Warranty, Cal. Com. Code § 2313 (by Individual Plaintiffs on
        behalf of the Class);
      • Unjust Enrichment (by Individual Plaintiffs on behalf of the Class);
      • Fraudulent Concealment (by all Plaintiffs); and
      • Intentional Misrepresentation (by Individual Plaintiffs on behalf of the Class).

       Whole Foods filed the instant Motion in January 2023, seeking to dismiss the
 Amended Complaint under Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil
 Procedure. In March 2023, the Court directed the parties to provide supplemental



 25      Id. at ¶ 88.
 26      Id. at ¶ 89.
 27      Id. at ¶ 92.
 28      Id. at ¶ 93.
 29      Id. at ¶ 94.


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 briefing on the issue of Article III standing. 30 The Court conducted a hearing the next
 month and took the Motion under submission. 31


                                 II. LEGAL STANDARD

 A.     Rule 12(b)(1)—Lack of Subject-Matter Jurisdiction

        As the party seeking to invoke the federal court’s jurisdiction, the plaintiff has the
 burden of alleging facts sufficient to prove that it has Article III standing. See Lujan v.
 Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). When the plaintiff lacks standing,
 Rule 12(b)(1) allows the defendant to move to dismiss the claims against it for lack of
 subject-matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). A plaintiff bears the burden of
 demonstrating standing “for each claim” and “for each form of relief” that it seeks.
 DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342, 352 (2006) (internal citations and
 quotations omitted). A court should dismiss an action when the face of the complaint
 does not demonstrate a basis for the claimant’s standing. See Warren v. Fox Family
 Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003); Fed. R. Civ. P. 8(a) & 12(b)(1).

         “Under Rule 12(b)(1), a defendant may challenge the plaintiff’s jurisdictional
 allegations in one of two ways.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014). A
 facial attack accepts the plaintiff’s allegations as true but asserts that they “are
 insufficient on their face to invoke federal jurisdiction.” Id. (quoting Safe Air for Everyone
 v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004)). The court resolves a facial attack “as it
 would a motion to dismiss under Rule 12(b)(6)”: in accepting the plaintiff’s allegations as
 true and drawing all reasonable inferences in her favor, the court determines “whether
 the allegations are sufficient as a legal matter to invoke the court’s jurisdiction.” Id.

         In contrast, a factual attack contests “the truth of the plaintiff’s factual
 allegations,” typically by introducing evidence outside the pleadings. Id. “When the
 defendant raises a factual attack, the plaintiff must support her jurisdictional allegations
 with ‘competent proof,’ under the same evidentiary standard that governs in the
 summary judgment context.” Id. (internal citation omitted). The plaintiff bears the
 burden of proving—by a preponderance of the evidence—that she meets each of the
 requirements for subject-matter jurisdiction, with one caveat: if the existence of
 jurisdiction turns on “disputed factual issues,” then the court itself may resolve those
 factual disputes. Id.



 30     See Order Directing Supp. Briefing Concerning Article III Standing [ECF No. 54].
 31     See Minute Order [ECF No. 59].


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 B.     Rule 12(b)(6)—Failure to State a Claim

         A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the claims
 asserted in a complaint. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). In ruling
 on a Rule 12(b)(6) motion, “[a]ll allegations of material fact are taken as true and
 construed in the light most favorable to the nonmoving party.” Am. Family Ass’n v. City
 & County of San Francisco, 277 F.3d 1114, 1120 (9th Cir. 2002). Although a complaint
 attacked by a Rule 12(b)(6) motion “does not need detailed factual allegations,” the
 plaintiff must provide “more than labels and conclusions.” Bell Atl. Corp. v. Twombly,
 550 U.S. 544, 555 (2007).

         To state a plausible claim for relief, the complaint “must contain sufficient
 allegations of underlying facts” to support its legal conclusions. Starr v. Baca, 652 F.3d
 1202, 1216 (9th Cir. 2011). “Factual allegations must be enough to raise a right to relief
 above the speculative level on the assumption that all the allegations in the complaint are
 true (even if doubtful in fact) . . . .” Twombly, 550 U.S. at 555 (citations and footnote
 omitted). Accordingly, to survive a motion to dismiss, a complaint “must contain
 sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
 face,” which means that the plaintiff must plead sufficient factual content to “allow[] the
 Court to draw the reasonable inference that the defendant is liable for the misconduct
 alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted).
 A complaint must contain “well-pleaded facts” from which the Court can “infer more
 than the mere possibility of misconduct.” Id. at 679.

 C.     Rule 15(a)—Leave to Amend

         A district court “should freely give leave when justice so requires.”
 Fed. R. Civ. P. 15(a). The purpose underlying the liberal amendment policy is to
 “facilitate decision on the merits, rather than on the pleadings or technicalities.” Lopez v.
 Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). Therefore, leave to amend should be granted
 unless the Court determines “that the pleading could not possibly be cured by the
 allegation of other facts.” Id. (quoting Doe v. United States, 8 F.3d 494, 497 (9th Cir.
 1995)).


                                        III. ANALYSIS

        Whole Foods moves to dismiss the claims of all three Plaintiffs for lack of standing.
 Additionally, Whole Foods moves to dismiss Plaintiffs’ fraud-based claims for failure to
 plead with particularity and moves to dismiss Plaintiffs’ breach of warranty and unjust
 enrichment claims for failure to state a claim. The Court will address each argument in
 turn.



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 A.     Article III Standing

         The Supreme Court clarified the requirements of Article III standing in
 TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), directing that the Constitution
 confines federal power to the resolution of “Cases” and “Controversies” and that those
 requirements demand that a party must have a personal stake in the case. Id. at 2203
 (citation omitted). “For there to be a case or controversy under Article III, the plaintiff
 must have a ‘personal stake’ in the case—in other words, standing.” Id. (citation and
 quotation omitted). Furthermore, “[r]equiring a plaintiff to demonstrate a concrete and
 particularized injury caused by the defendant and redressable by the court ensures that
 federal courts decide only ‘the rights of individuals[]’ . . . and that federal courts exercise
 ‘their proper function in a limited and separated government.’” Id. (internal citations
 and quotations omitted). “In sum, under Article III, a federal court may resolve only ‘a
 real controversy with real impact on real persons.’” Id. (citing American Legion v.
 American Humanist Assn., 139 S. Ct. 2067, 2103 (2019)).

         “At an ‘irreducible constitutional minimum,’ standing requires the party asserting
 the existence of federal court jurisdiction to establish three elements: (1) an injury in fact
 that is (a) concrete and particularized and (b) actual or imminent; (2) causation; and (3) a
 likelihood that a favorable decision will redress the injury.” Wolfson v. Brammer, 616 F.3d
 1045, 1056 (9th Cir. 2010) (citing Lujan, 504 U.S. at 560-61). Further, only injuries that
 have a close relationship to harms traditionally recognized “as providing a basis for a
 lawsuit in American courts” may be considered “concrete for purposes of Article III[].”
 TransUnion, 141 S. Ct. at 2204 (citing Spokeo v. Robins, 578 U.S. 330, 341 (2016)). The
 Supreme Court instructs that judges should look to “history and tradition” as a “guide to
 the types of cases that Article III empowers federal courts to consider.” Id. (citing Sprint
 Communications Co. v. APCC Services, Inc., 554 U.S. 269, 274 (2008)).

        The history-and-tradition inquiry “asks whether plaintiffs have identified a close
 historical or common-law analogue for their asserted injury.” Id. Article III standing
 “does not require an exact duplicate in American history and tradition[,]” but it is “not
 an open-ended invitation for federal courts to loosen Article III based on contemporary,
 evolving beliefs about what kinds of suits should be heard in federal courts.” Id.
 “[C]ertain harms readily qualify as concrete injuries under Article III[,]” including
 “traditional tangible harms, such as physical harms and monetary harms.” Id. “Various
 intangible harms can also be concrete. Chief among them are injuries with a close
 relationship to harms traditionally recognized as providing a basis for lawsuits in
 American courts.” Id. (citing Spokeo, 578 U.S. at 340-41). “Article III standing requires
 a concrete injury even in the context of a statutory violation.” Spokeo, 578 U.S. at 341.




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        1.     Individual Plaintiffs’ Standing

               a.      Safari

        Safari claims that she was injured by Whole Foods when she purchased beef from
 Whole Foods “at a premium price” and that she later learned that Whole Foods
 misrepresented that beef as being antibiotic-free. 32 Safari pleads that she purchased beef
 only from a Whole Foods store in Tustin, California, however, and nowhere in the
 Amended Complaint does she allege that the beef that she purchased actually contained
 antibiotics. 33 Furthermore, Plaintiffs tested beef samples only from Whole Foods’ stores
 in San Francisco, Chicago, Salt Lake City, and Virginia—and not Tustin—and Plaintiffs
 do not plead that the supply chain providing beef to Whole Foods’ Tustin store received
 products from the same source as any of the other locations. 34

        Safari advances two theories of economic injury: (1) she paid a premium for
 antibiotic-free beef when compared to lower prices for similar beef that was not advertised
 as antibiotic-free; and (2) she purchased beef from Whole Foods only because she
 assumed that all Whole Foods beef was antibiotic-free. 35 Plaintiffs compare the price of
 Whole Foods’ filet mignon at $31.00 per pound with that of the same cut at a Safeway
 store, without antibiotic-free labeling, at $24.99 per pound, to demonstrate their
 overpayment for the deceptively labeled beef. 36

         Under TransUnion, Safari’s overpayment for falsely labeled antibiotic-free beef
 would be a concrete tangible injury relating to monetary harm. TransUnion, 141 S. Ct. at
 2204. Here, though, Safari fails to state a claim sufficient for Article III standing because
 she does not plead that the beef that she purchased in Tustin came from the same beef
 supply chains used by Whole Foods’ where testing showed traces of antibiotics in cattle.
 Plaintiffs do not claim that all Whole Foods’ beef samples tested positive for antibiotics;
 to the contrary, only certain samples from specific locations tested positive for
 antibiotics. 37 Elsewhere in the Amended Complaint, Plaintiffs identify reports of third-
 party antibiotics testing on specific slaughterhouses that produced GAP-certified beef,
 with the following results:



 32     Id. at ¶¶ 13 & 14.
 33     Id. at ¶ 11.
 34     Id. at ¶ 59.
 35     Id. at ¶¶ 13-15.
 36     Id. at ¶ 76.
 37     Id. at ¶¶ 59-61.


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      • 42% of feed yards providing “raised without antibiotics” cattle had at least one
        animal test positive for antibiotics;
      • 15% of the “raised without antibiotics” cattle processed at the slaughterhouse
        came from a lot that tested positive for antibiotics; and
      • 26% of the GAP-certified cattle came from a lot where at least one animal tested
        positive for antibiotics. 38

        Although Safari need not allege that all Whole Foods’ beef is antibiotic-free for
 Whole Foods’ claim of “no antibiotics, ever” to be false, Safari must plead facts that the
 beef that she purchased was at least derived from a supply chain tainted with antibiotics
 use.

         Plaintiffs cite two authorities in support of their Opposition, but in both instances
 Plaintiffs misinterpret the standing requirements for economic injuries, and they ignore
 those courts’ emphasis on the supply chain in question. In McCoy v. Nestle USA, Inc, 173
 F. Supp. 3d 954 (N.D. Cal. 2016), aff’d sub nom. McCoy v. Nestle USA, Inc., 730 F. App’x
 462 (9th Cir. 2018), a court in the Northern District of California considered a motion to
 dismiss claims relating to Nestlé’s use of child slave labor within its chocolate supply
 chain. Although the McCoy court ultimately dismissed the plaintiff’s action for failure to
 state a claim under the CLRA, UCL, and FAL, id. at 972, the court held that the plaintiff
 met Article III’s standing requirements. While Nestlé argued that the plaintiff did not
 allege that the specific chocolate products that she purchased were made from cocoa
 produced with child slave labor and, therefore, that she could not allege an actual and
 particularized injury, the court concluded that standing requirements were met because
 the plaintiff “would have either not purchased or paid less for Nestlé’s products if she
 had known that the supply chain involved the labor abuses at issue, regardless of where the
 cocoa in a particular chocolate bar originated.” Id. at 962 (emphasis in original). The
 supply chain was important because Nestlé “[could] not trace the cocoa used in a
 particular Nestlé chocolate product to a specific plantation, and there is thus no way to
 know what labor practices were used in its production.” Id. The court also noted:
 “[W]hen, as here, ‘Plaintiffs contend that class members paid more for [a product] than
 they otherwise would have paid, or bought it when they otherwise would not have done
 so’ they have suffered an Article III injury in fact.” Id. at 963 (citing Hinojos v. Kohl’s
 Corp., 718 F.3d 1098, 1104 (9th Cir. 2013)).

        As a preliminary matter, McCoy predated both TransUnion and Spokeo, and,
 consequently, it did not undertake the same Article III standing analysis as directed by
 those Supreme Court cases. But even under McCoy’s analysis regarding the purchased
 chocolate, Safari would fail to state a sufficient injury in the instant action. Safari does not


 38      Id. at ¶ 62.


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 allege that the beef that she purchased came from the same supply chain that contained
 cattle tainted with antibiotic use, and nothing within the Amended Complaint indicates
 that the Tustin Whole Foods store shared a supply chain with any of the locations that
 tested positive for antibiotics. 39

        Further distinguishing the instant action from McCoy, unlike Nestlé’s chocolate
 products—where the supply chain for chocolate products involving child slave labor was
 indistinguishable from Nestlé’s other products—here, Plaintiffs found through laboratory
 testing that specific beef products at specific locations tested positive for traces of
 antibiotics. 40 None of those tests showed antibiotic use at Whole Foods’ Tustin store,
 nor did Plaintiffs plead any facts that the Tustin store relied on the same supply chain as
 Whole Foods’ stores with beef products that may have used antibiotics. Although Safari
 alleges that other Whole Foods’ locations used supply chains that may have included
 antibiotics use at upstream feed yards and slaughterhouses, 41 the Amended Complaint
 does not allege that those beef products were supplied to Whole Foods’ Tustin store.

         Plaintiffs also cite another child slave labor case: Hodsdon v. Mars, Inc., 162
 F. Supp. 3d 1016 (N.D. Cal. 2016), aff’d, 891 F.3d 857 (9th Cir. 2018). That court
 similarly dismissed the plaintiff’s CLRA, UCL, and FAL claims, but it held that the
 plaintiff had Article III standing because class members “would not have purchased Mars
 Chocolate Products or paid as much for them” had they known “that cocoa harvested by
 children and forced laborers were in the supply chain[.]” Id. at 1022 (emphasis in
 original). Although Hodson also predated TransUnion and Spokeo, Safari still fails to meet
 the standing requirement articulated in Hodson because she does not allege that the
 supply chain for the Tustin Whole Foods store included antibiotic use or that any of the
 upstream feed yards or slaughterhouses exposed its cattle to antibiotics.

         In its Supplemental Brief, Plaintiffs cite two additional authorities in which district
 courts held that plaintiffs asserting claims against distributors of dolphin-safe tuna
 products had standing for various California consumer claims. See Wright v. Costco
 Wholesale Corp., 2023 WL 210936 (N.D. Cal. Jan. 17, 2023); Henriquez v. ALDI Inc., 2023
 WL 2559200 (C.D. Cal. Feb. 7, 2023). Although Plaintiffs aver that those two cases are
 post-TransUnion examples of courts upholding standing for claims similar to their own,
 both cases are distinguishable regarding the manner in which the plaintiffs were exposed
 to the supply chains in question. In Wright, the plaintiffs alleged that Costco falsely
 advertised its supply chain and misrepresented its “promises that the products are ‘100%
 Traceable from Sea to Shelf,’” and plaintiffs also alleged that “Costco and its suppliers

 39     Id. at ¶ 11.
 40     Id. at ¶¶ 59-61.
 41     Id. at ¶ 62.


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 are ‘not able to trace their tuna “100%” from sea to shelf because of data issues, supply
 chain complexities, and even human error.’” Wright, 2023 WL 210936, at *2.

         In Henriquez, the plaintiffs made similar claims against defendant ALDI
 concerning the retailer’s tuna-fishing practices, alleging that “ALDI’s tuna is ‘sourced
 from fisheries that utilize unsustainable fishing methods, longline and purse seine, that
 are known to harm and kill dolphins.’” Henriquez, 2023 WL 2559200, at *2. The
 plaintiffs in Henriquez specifically alleged that “[o]f the eight fisheries that provide ALDI
 with albacore tuna, none have received a ‘well managed’ sustainability rating from the
 [Ocean Disclosure Project]” and that ALDI falsely advertised that its “Dolphin Safe”
 representations exceeded the requirements of the Dolphin Protection Consumer
 Information Act. Id.

        Unlike Safari, the plaintiffs in Wright and Henriquez specifically alleged that their
 purchased tuna was sourced from supply chains that involved fishing methods that were
 unsafe for dolphins and other sea life. Here, Safari does not allege that Whole Foods’
 Tustin store misrepresented its supply chain, nor does she claim that all beef suppliers to
 that store showed traces of antibiotics in their cattle.

         Moreover, to the extent that Safari alleges that she overpaid for beef because
 Whole Foods misrepresented its use of antibiotics across all supply chains, this claim fails
 for two reasons. First, Plaintiffs specifically described their monetary injury. Comparing
 Whole Foods’ filet mignon to that of Safeway, which Safeway did not market as
 antibiotic-free, Plaintiffs would have paid approximately $6 per pound more for Whole
 Foods’ beef. 42 Unless Safari can sufficiently plead that her beef was produced by a supply
 chain tainted by antibiotic use, she fails to state a claim that she overpaid. Put differently,
 if Safari actually purchased beef that was raised without antibiotic use in its supply chain,
 then she paid for exactly what Whole Foods advertised: antibiotics-free beef.

        Second, to the extent that Safari alleges an economic injury because Whole Foods
 sold antibiotics-tainted beef to other customers in other locations, that claim is not viable
 post-TransUnion. That alleged injury would no longer be a tangible economic injury, but,
 instead, it is an intangible claim untethered to the history and tradition of cases typically
 heard by Article III courts. 43 See TransUnion, 141 S. Ct. at 2204. Safari need not show



 42      Id. at ¶ 76.
 43      In other legal contexts in which courts are required to evaluate historical analogs of
 modern laws, the Supreme Court has directed that “‘[i]n our adversarial system of adjudication,
 we follow the principle of party presentation.’ Courts are thus entitled to decide a case based on
 the historical record compiled by the parties.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
 142 S. Ct. 2111, 2130 n.6 (2022) (internal citation omitted). Here, Plaintiffs did not identify any


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 that her specific beef purchase was tainted by antibiotics, but, for standing purposes, she
 must at least allege that the supply chain servicing her store contained upstream
 antibiotics-related contamination. That requirement comports with the rule that a
 plaintiff must claim a “concrete” injury and that “[a] ‘concrete’ injury must be ‘de facto’;
 that is, it must actually exist.” Spokeo, 578 U.S. at 340.

         For Safari to claim an injury based solely on Whole Foods’ sale of antibiotic-
 tainted beef to other customers at other stores would be akin to seeking the general
 enforcement of California’s consumer remedies and “compliance with regulatory law
 (and, of course, to obtain some money via the statutory damages).” TransUnion, 141
 S. Ct. at 2206 (citation and quotation omitted). Such a claim is too close to what courts
 deem a “generalized grievance,” where a plaintiff asserts a claim without any specific
 harm to herself. See Novak v. United States, 795 F.3d 1012, 1018 (9th Cir. 2015)
 (“Because a generalized grievance is not a particularized injury, a suit alleging only
 generalized grievances fails for lack of standing.”). Although Plaintiffs may value stores
 that sell antibiotics-free beef, “Article III requires more than a desire to vindicate value
 interests.” Diamond v. Charles, 476 U.S. 54, 66 (1986).

        Safari cannot claim a concrete injury based upon her expectation that Whole
 Foods’ antibiotic-free claims applied to meat that she did not purchase, because she
 received exactly what she bargained for when she paid the $6 per pound premium. To
 the contrary, allowing Safari to sue on behalf of others would run afoul of what the
 Supreme Court warns against: “Article III grants federal courts the power to redress
 harms that defendants cause plaintiffs, not a freewheeling power to hold defendants
 accountable for legal infractions.” TransUnion, 141 S. Ct at 2205; see also Phan v. Sargento
 Foods, Inc., 2021 WL 2224260, at *4 (N.D. Cal. June 2, 2021) (ruling that the plaintiff
 lacked standing because she did not allege that she purchased antibiotics-tainted product,
 and “[i]n the absence of that additional allegation, the Court concludes that Plaintiff has
 no standing to claim that the ‘No Antibiotics*’ label was misleading.”); Pels v. Keurig Dr.
 Pepper, Inc., 2019 WL 5813422, at *5 (N.D. Cal. Nov. 7, 2019) (dismissing the plaintiff’s
 action for lack of standing, despite tests showing that the defendant’s water products
 exceeded permittable arsenic levels, because the plaintiff failed to allege a particularized
 injury by not pleading that he actually purchased contaminated water products).
 Accordingly, Safari’s claims are DISMISSED for lack of standing, with leave to amend.




 historical injury beyond monetary overpayment, nor did Plaintiffs cite any intangible non-
 monetary injuries relating to Whole Foods’ advertisements of “no antibiotics, ever.”


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                b.     Khaghani

         In contrast with Safari, Khaghani avers that he purchased beef from multiple
 Whole Foods stores in Northern California, including in San Francisco where Whole
 Foods’ beef tested positive for traces of antibiotics residue. 44 Because Khaghani
 sufficiently pleads a monetary injury arising from the premium that he paid for
 antibiotics-free beef, at this stage of the litigation he has standing. Furthermore,
 Khaghani also maintains standing under the UCL and FAL because “when a consumer
 purchases merchandise on the basis of false price information, and when the consumer
 alleges that he would not have made the purchase but for the misrepresentation, he has
 standing to sue under the UCL and FAL because he has suffered an economic injury.”
 Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1107 (9th Cir. 2013), as amended on denial of reh’g
 and reh’g en banc (July 8, 2013). Khaghani also maintains standing under the CLRA,
 because “any plaintiff who has standing under the UCL’s and FAL’s ‘lost money or
 property’ requirement will . . . have suffered ‘any damage’ for purposes of establishing
 CLRA standing.” Id. at 1108. Accordingly, the Motion is DENIED with regard to
 Khaghani’s standing.

        2.      Organizational Standing

        Plaintiff Farm Forward asserts organizational standing for its claims against Whole
 Foods, alleging that Whole Foods’ false advertisements frustrated Farm Forward’s
 mission and caused it to expend resources to combat Whole Foods’ actions. 45
 Organizational standing stems from the Supreme Court’s decision in Havens Realty Corp.
 v. Coleman, 455 U.S. 363 (1982), in which the plaintiffs filed a class action against the
 defendants, who were allegedly engaged in “racial steering.” 46 Id. at 367. One plaintiff
 was a nonprofit organization that provided counseling and referral services to black
 renters. That plaintiff claimed that the defendants’ actions frustrated its mission, “with a
 consequent drain on resources.” Id. at 369. Although the plaintiff organization “brought
 suit against petitioners both as a representative of its members and on its own behalf,” the
 Court did not evaluate the organization’s representative standing, but instead decided
 whether the organization had “standing in its own right.” Id. at 378.




 44      Amended Complaint ¶¶ 18 & 60.
 45      Opposition 12:15-19.
 46      “‘[R]acial steering’ is a ‘practice by which real estate brokers and agents preserve and
 encourage patterns of racial segregation in available housing by steering members of racial and
 ethnic groups to buildings occupied primarily by members of such racial and ethnic groups and
 away from buildings and neighborhoods inhabited primarily by members of other races or
 groups.’” Havens Realty, 455 U.S. at 366 n.1 (citation omitted).


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         The Court in Havens Realty resolved the question of organizational standing in one
 short paragraph in favor of the plaintiff, and concluded that if an organization’s mission
 was impaired by a defendant’s actions, “[s]uch concrete and demonstrable injury to the
 organization’s activities—with the consequent drain on the organization’s resources—
 constitutes far more than simply a setback to the organization’s abstract social interests.”
 Id. at 379. In keeping with Havens Realty, the Ninth Circuit has held that “‘a diversion-
 of-resources injury is sufficient to establish organizational standing’ for purposes of
 Article III if the organization shows that, independent of the litigation, the challenged
 ‘policy frustrates the organization’s goals and requires the organization to expend
 resources in representing clients they otherwise would spend in other ways.’” E. Bay
 Sanctuary Covenant v. Trump, 932 F.3d 742, 765 (9th Cir. 2018) (internal citation and
 quotation omitted).

               a.     Diversion-of-Resources Theory

        Here, Farm Forward fails to meet the Ninth Circuit’s requirement for
 organizational standing through a diversion-of-resources theory. “Organizations divert
 resources when they ‘alter[ ] their resource allocation to combat the challenged
 practices,’ but not when they go about their ‘business as usual.’” Friends of the Earth v.
 Sanderson Farms, Inc., 992 F.3d 939, 942 (9th Cir. 2021) (citing Am. Diabetes Ass’n v. U.S.
 Dep’t of the Army, 938 F.3d 1147, 1154 (9th Cir. 2019)). “Diversion of resources has been
 found when organizations ‘expended additional resources that they would not otherwise
 have expended, and in ways that they would not have expended them.’” Id. (citation and
 quotation omitted).

        The question, then, is whether Farm Forward’s activities were “business as
 usual” and a continuation of existing advocacy, or whether they were an affirmative
 diversion of resources to combat Whole Foods’ misrepresentations. Regardless of Whole
 Foods’ advertising, Farm Forward’s mission has been “to end factory farming.” 47
 Although antibiotics use on livestock enables factory farming by permitting animals to be
 kept “alive in conditions that would otherwise stunt their growth and even kill them,” 48
 Farm Forward also is concerned that “[t]he use of antibiotics is also indicative of animal
 mistreatment.” 49




 47     Amended Complaint ¶¶ 2 & 23.
 48     Id. at ¶ 34.
 49     Id.


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         As part of its request for judicial notice, Whole Foods submitted two articles by
 Farm Forward concerning its campaign against Whole Foods and GAP. 50 Plaintiffs do
 not oppose Whole Foods’ request for judicial notice of those two articles. The first
 article states:

        Because GAP has shown a pattern of catering to the industry by welcoming
        modified factory farms into its program, we suspected that drugs may be
        present in the meat it certifies. In 2017, Farm Forward used its position on
        GAP’s board to push for antibiotic testing, but GAP’s leadership refused.
        Because nobody is testing meat to verify claims made by meat producers, the
        only way to determine whether GAP is living up to its promises was to begin
        testing products ourselves. 51

        In their Opposition, Plaintiffs concede that because of Whole Foods’ “refusal in
 2017 to even explore an internal verification program” for antibiotics testing, “Farm
 Forward had to expose Whole Foods’ deception to avoid harm to the organization.” 52
 Taken together with Farm Forward’s admission that GAP’s inclusion of “modified
 factory farms into its program” triggered Farm Forward’s antibiotics testing program, the
 Court concludes that, for pleading purposes, Farm Forward’s testing regime was
 “business as usual” and was merely a continuation of its organizational mission to end
 factory farming. C.f. Sabra v. Maricopa Cnty. Cmty. Coll. Dist., 44 F.4th 867, 880 (9th
 Cir. 2022) (finding organizational standing because the plaintiff “went out of its way to
 develop a public-awareness campaign rebutting the information in [the defendant’s]
 course and requiring a diversion of resources by contracting with a religious scholar)


 50      See Defs.’ Request for Judicial Notice (“Defendants’ RJN”) [ECF No. 46-2]. Plaintiffs
 did not oppose Whole Foods’ request; indeed, Plaintiffs cited those articles for support in their
 Opposition. See Opposition 16:23-17:22. In deciding a motion to dismiss, courts generally look
 only to the face of the complaint and documents attached thereto. See Van Buskirk v. Cable News
 Network, Inc., 284 F.3d 977, 980 (9th Cir.2002). The Court may consider, however, materials
 that are subject to judicial notice under Rule 201 of the Federal Rules of Evidence. See Gerritsen
 v. Warner Bros. Entertainment, Inc., 112 F. Supp. 3d 1101, 1020 (C.D. Cal. 2015). Rule 201
 permits judicial notice of facts that are “not subject to reasonable dispute” because they “can be
 accurately and readily determined from sources whose accuracy cannot reasonably be
 questioned.” Fed. R. Evid. 201(b). The Ninth Circuit also applies the “incorporation by
 reference” doctrine. Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005). Under that doctrine,
 a court may “take into account documents whose contents are alleged in a complaint and whose
 authenticity no party questions, but which are not physically attached to the [plaintiff’s]
 pleading.” Id. (internal citations and quotations omitted) (alteration in original). Because
 Plaintiffs did not oppose Defendants’ RJN, but instead argued only that Defendants
 misconstrued the articles, the Court GRANTS Defendants’ RJN to the extent that these are
 genuine articles published by Farm Forward.
 51      Defendant’s RJN, Ex. 1 at 2.
 52      Opposition 17:19-22.


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 (emphasis added). Because Farm Forward’s testing program was a continuation of its
 existing mission to end factory farming, it fails to meet the Ninth Circuit’s requirement
 for organizational standing.

               b.      Reputational Injury and Financial Harm Theory

         Farm Forward also claims that it suffered “reputational and financial harm” from
 promoting Whole Foods’ falsely advertised antibiotics-free meat. 53 Farm Forward avers
 that it “donated thousands of hours of its time” to working with Whole Foods and that
 had Farm Forward not expended resources on investigating and exposing Whole Foods, it
 would have “lost the support of both the public and the highest welfare farmers and
 ranchers[.]” 54

         In TransUnion, the Court describes reputational harm as a concrete intangible
 harm that has traditionally been recognized by American courts. Id. The Court cited
 Meese v. Keene, 481 U.S. 465 (1987), as instructive for how courts have evaluated claims
 for reputational harm. In Meese, the plaintiff sought to enjoin a portion of the Foreign
 Agents Registration Act of 1938 that required films produced by foreign agents—there,
 the Canadian government—to be labeled as “political propaganda.” Id. at 469-70. The
 plaintiff alleged that labeling his films as “political propaganda” was a reputational injury
 and that “if he were to exhibit the films while they bore such characterization, his
 personal, political, and professional reputation would suffer and his ability to obtain re-
 election and to practice his profession would be impaired.” Id. at 473. The Court
 concluded that the plaintiff had standing because he “could not exhibit the films without
 incurring a risk of injury to his reputation and of an impairment of his political career.”
 Id. at 475.

        Here, although Farm Forward raises an inchoate claim for reputational harm, the
 Amended Complaint fails to plead sufficient facts for a concrete injury. Farm Forward
 contends that “[h]ad [it] not investigated and exposed Whole Foods’ false meat
 advertising claims,” it would have “lost the support of both the public and the highest
 welfare farmers and ranchers, many of whom had expressed frustration with Whole
 Foods, and frustration with Farm Forward for their ongoing support of GAP.” 55

         Multiple problems arise from Farm Forward’s conclusory allegation of
 reputational harm. First, Farm Forward does not identify what injuries would result from
 the alleged reputational harm. Would Farm Forward receive fewer donations? Would


 53     Opposition 14:15-18.
 54     Id. at 13:19-20 & 14:13-15.
 55     Amended Complaint ¶ 94.


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 farmers and ranchers no longer coordinate with Farm Forward to end factory farming?
 The Amended Complaint is silent on the actual injuries. Second, while it is possible that
 Farm Forward’s reputation would have been harmed if it was exposed as unwittingly
 promoting antibiotics-laden beef, here Farm Forward claims to have exposed Whole
 Foods through Farm Forward’s own investigations and public awareness campaign. 56 If
 anything, those actions would logically enhance Farm Forward’s reputation with its
 supporters and the public.

         With respect to Farm Forward’s claims that it “experienced financial loss” by
 expending resources to investigate and expose Whole Foods, 57 those expenditures did not
 result from an injury by Whole Foods, but, instead, Farm Forward undertook those
 efforts in keeping with its mission to end factory farming. Although the Supreme Court
 has noted that “the need to take such affirmative steps to avoid the risk of harm to []
 reputation constitutes a cognizable injury,” Meese, 481 U.S. at 475, those actions are no
 longer traceable to Whole Foods’ conduct when Farm Forward “had a similar incentive
 to engage in many of the countermeasures that [it is] now taking.” Clapper v. Amnesty
 Int’l USA, 568 U.S. 398, 417 (2013); accord Nat’l Ass’n of Home Builders v. U.S. Fish &
 Wildlife Serv., 786 F.3d 1050, 1054 (D.C. Cir. 2015) (“[A]s to volitional expenditures,
 [the plaintiffs] cannot show injury by ‘inflicting harm on themselves based on their fears
 of hypothetical future harm that is not certainly impending.’”) (quoting Clapper, 568 at
 416).

               c.      Analysis Under TransUnion

        The Supreme Court’s decision in TransUnion calls into question the
 circumstances under which courts may properly grant organizational standing. Courts
 within other circuits have recognized that “[c]aselaw for organizational standing is not a
 model of clarity,” Ctr. for Responsible Sci. v. Gottlieb, 311 F. Supp. 3d 5, 9 (D.D.C. 2018),
 and judges within this Circuit have similarly acknowledged that “our court’s
 jurisprudence is at ‘loggerheads’ with Supreme Court precedent.” Sabra v. Maricopa
 Cnty. Cmty. Coll. Dist., 44 F.4th 867, 895 (9th Cir. 2022) (Van Dyke, J., concurring); see
 also Fair Hous. Council of San Fernando Valley v. Roommate.com, LLC, 666 F.3d 1216, 1224
 (9th Cir. 2012) (Ikuta, J., dissenting) (writing separately “to express [] concern that our
 circuit’s test for organizational standing cannot be reconciled with Supreme Court
 precedent”).

        In its Supplemental Brief, Plaintiffs argued that “[o]rganizational standing is
 constitutionally viable after Supreme Court’s [sic] decision in TransUnion. The


 56     Id. at ¶¶ 89-94.
 57     Id. at ¶ 88.


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 TransUnion Court twice cited the four-decade old seminal case on organizational
 standing: Havens Realty[].” 58 Simply put, Plaintiffs’ assertion is not true—Havens Realty
 was twice cited in a dissent to TransUnion. See TransUnion, 141 S. Ct. at 2218-21
 (Thomas, J., dissenting) (quoting Havens Realty, 455 U.S. at 373-74).

         The legal error in Plaintiffs’ briefing punctuates this Court’s concern with
 organizational standing doctrine post-TransUnion; Havens Realty was able to maintain its
 relevance only in Justice Thomas’s dissent. In contrast, the majority in TransUnion held
 that when evaluating “the concrete-harm requirement . . . courts should assess whether
 the alleged injury to the plaintiff has a ‘close relationship’ to a harm ‘traditionally’
 recognized as providing a basis for a lawsuit in American courts.” Id. at 2204 (citing
 Spokeo, 578 U.S. at 341). Here, neither mission frustration nor diversion of resources is a
 cause of action grounded in the “history and tradition” of the “types of cases that
 Article III empowers federal courts to consider,” id. (citing Sprint, 554 U.S. at 269), nor
 do Plaintiffs offer any historical analogs to those types of cases.

        For those reasons, because Farm Forward cannot establish standing under
 Article III, its claims are DISMISSED with leave to amend.

 B.     Fraud Claims

        Whole Foods moves to dismiss Plaintiffs’ claims for failing to plead fraud with
 particularity under Rule 9(b). Because only Khaghani’s claims have survived the pleading
 stage regarding standing, the Court will evaluate only his claims against Whole Foods
 under Rule 9(b).

         The Federal Rules of Civil Procedure provide that “[i]n alleging fraud or mistake,
 a party must state with particularity the circumstances constituting fraud or mistake.”
 Fed. R. Civ. P. 9(b). “To avoid dismissal for inadequacy under Rule 9(b),” a “complaint
 [must] ‘state the time, place, and specific content of the false representations as well as
 the identities of the parties to the misrepresentation.’” Edwards v. Marin Park, Inc., 356
 F.3d 1058, 1066 (9th Cir. 2004) (citation and quotation omitted). “Conclusory
 allegations are insufficient, and the facts constituting the fraud must be alleged with
 specificity.” Yumul v. Smart Balance, Inc., 733 F. Supp. 2d 1117, 1122 (C.D. Cal. 2010).
 Further, “[i]t is well-settled that the Federal Rules of Civil Procedure apply in federal
 court, ‘irrespective of the source of the subject matter jurisdiction, and irrespective of
 whether the substantive law at issue is state or federal.’” Kearns v. Ford Motor Co., 567
 F.3d 1120, 1125 (9th Cir. 2009) (quoting Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097,
 1102 (9th Cir. 2003)).


 58     Plaintiffs’ Supplemental Brief 11:19-22.


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         Here, Khaghani meets the requirements of Rule 9(b) by pleading that (1) he
 purchased beef from a Whole Foods store in San Francisco in 2020; (2) that beef was
 derived from a supply chain that was tainted by antibiotics use—contrary to Whole
 Foods’ representations that its beef is antibiotics-free—and; (3) he relied upon Whole
 Foods’ representations when he purchased the beef. 59 See Clancy v. Bromley Tea Co., 308
 F.R.D. 564, 576 (N.D. Cal. 2013) (finding that “[t]hese allegations are sufficient to satisfy
 Plaintiff’s obligations under Rule 9(b)”).

 C.     Breach of Warranty & Unjust Enrichment Claims

         Whole Foods also moves to dismiss Plaintiffs’ breach of warranty and unjust
 enrichment claims. Under California law, “[a]ny affirmation of fact or promise made by
 the seller to the buyer which relates to the goods and becomes part of the basis of the
 bargain creates an express warranty that the goods shall conform to the affirmation or
 promise.” Cal. Com. Code § 2313(1)(a). Likewise, “[a]ny description of the goods which
 is made part of the basis of the bargain creates an express warranty that the goods shall
 conform to the description.” Cal. Com. Code § 2313(1)(b); see also Diamondstar Ent.
 Holdings, LLC v. THH, LLC, 2022 WL 16951838 (C.D. Cal. Nov. 15, 2022) (same). “It
 is not necessary to the creation of an express warranty that the seller use formal words
 such as ‘warrant’ or ‘guarantee’ or that he have a specific intention to make a warranty,
 but an affirmation merely of the value of the goods or a statement purporting to be merely
 the seller’s opinion or commendation of the goods does not create a warranty.”
 Cal. Com. Code § 2313(2).

         Although Whole Foods contends that “the Individual Plaintiffs do not allege
 sufficient facts demonstrating that they purchased beef products raised using
 antibiotics[,]” 60 as explained above, Khaghani pleads his claims with sufficient
 particularity under Rule 9(b), and he alleges facts necessary to state a breach of warranty
 claim at this stage. Further, Khaghani’s allegation that Whole Foods falsely advertised its
 beef as antibiotics-free satisfies California’s laws on express warranty. See In re Clorox
 Consumer Litig., 894 F. Supp. 2d 1224, 1235 (N.D. Cal. 2012) (finding that the plaintiffs
 stated a claim for breach of warranty where they “allege the specific contents of this
 warranty and that they reasonably relied on the warranty when they purchased [the
 product in question]”).

       Whole Foods argues that Khaghani’s unjust enrichment claim should be dismissed
 because there is no stand-alone claim for unjust enrichment under California law. 61


 59     Id. at ¶ 18.
 60     Motion 19:9-11.
 61     Id. at 19:18-19.


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 “Courts consistently have held that unjust enrichment is not a proper cause of action
 under California law.” In re Toyota Motor Corp. Unintended Acceleration, Mktg., Sales
 Practices, & Prods. Liab. Litig., 754 F. Supp. 2d 1145, 1194 (C.D. Cal. 2010). “The phrase
 ‘Unjust Enrichment’ does not describe a theory of recovery, but an effect: the result of a
 failure to make restitution under circumstances where it is equitable to do so.” Melchior
 v. New Line Prods., Inc., 106 Cal. App. 4th 779, 793 (2003). “Unjust enrichment is a
 ‘general principle, underlying various legal doctrines and remedies,’ rather than a remedy
 itself.” Id. (quoting Dinosaur Dev., Inc. v. White, 216 Cal. App. 3d 1310, 1315 (1989)). “It
 is synonymous with restitution.” Id.

         That said, Khaghani may plead unjust enrichment as a “quasi-contract claim
 seeking restitution.” Rutherford Holdings, LLC v. Plaza Del Rey, 223 Cal. App. 4th 221,
 231 (2014). “A claim for restitution is permitted even if the party inconsistently pleads a
 breach of contract claim that alleges the existence of an enforceable agreement.” Id.
 (citing Klein v. Chevron U.S.A., Inc., 202 Cal. App. 4th 1342, 1389 (2012), as modified on
 denial of reh’g (Feb. 24, 2012)). Accordingly, Khaghani’s claim for unjust enrichment
 survives the pleading stage.


                                    IV. DISPOSITION

        For the foregoing reasons, the Court hereby ORDERS as follows:

        1.     Whole Foods’ request for judicial notice is GRANTED.

        2.      Whole Foods’ Motion to dismiss is GRANTED in part and DENIED in
 part, as follows:

               a.     the Motion is GRANTED in that the claims for relief asserted by
        Safari and Farm Forward are DISMISSED with leave to amend.

               b.     the Motion is DENIED with respect to Khaghani’s claims for relief.

         3.      Safari and Farm Forward are DIRECTED to file an amended pleading, if at
 all, no later than August 11, 2023. If Safari and Farm Forward choose to file an amended
 pleading, then they are also DIRECTED to file contemporaneously therewith a Notice of
 Revisions to First Amended Complaint that provides the Court with a redline version that
 shows the amendments. If Safari and Farm Forward fail to file an amended pleading by
 August 11, 2023, then the Court will DISMISS Safari and Farm Forward’s claims for
 relief with prejudice.

        4.     Whole Foods is DIRECTED to file its response to Plaintiffs’ operative
 pleading no later than September 1, 2023.


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        5.     The parties are DIRECTED to meet and confer forthwith regarding the
 impact of this ruling on the pending discovery motions and to be prepared to discuss the
 case schedule at the hearing on July 25, 2023, at 9:00 a.m.

          IT IS SO ORDERED.



 Dated:      July 24, 2023
                                          John W. Holcomb
                                          UNITED STATES DISTRICT JUDGE




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